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                                                                                              C 12 O N i PI

                                                                                              E R I CKSO N

                                                                                              &C U R R A N
                                                          April 1, 2021


                           Vea E-Mail Only - Joe.Koehlerna,usdoj_goe
                           Joseph Koehler
                           US Attorneys Office
Dnrv~a u. NI(„rnx~
                           2 Renaissance Square
                           40 N. Central Ave., Ste. 1800
                           Phoenix, AZ 85004-4408

                                 Re:    United States v. Abdul Kareem; No. CR15-707-PHX-SRB

3zoa Noan~                 Dear Mr. Koehler:
Canrani. Avr:Nue

Surre 1800                        It is our understanding that the Govermnent intends to call several
YHOF.NIX ARIZONA           witnesses and possibly use several exhibits at the re-sentencing of Abdu]
85012-2438                 Malik Abdul Kareem ("Mr. Kareem"). Pursuant to the cited Federal Rules of
'Imr 602 299 RS00
                           Criminal Procedure and other applicable authorities, please provide me with
DlxeCf GOl 2']Y 8519
                           the following items of discovery:
rAv 602 263 8165
                                 1.     Any written or recorded statements made by Defendant, Mr.
EMA¢ DMaynocd~mmceecom
                                        Kareem, or copies thereof, within the possession, custody or
                                        control of the government that were made after his last
                                        sentencing on January 24, 2017. Rule 16(a)(1)(A).

                                 2.    The substance of any oral statement which the government
                                       intends to offer in evidence at the sentencing made by Mr.
                                       Kareem.

                                 3.    All handwritten notes or other rough notes made by government
                                       agents while interviewing Mr. Kareem since his sentencing.
                                       Rule 16(a)(1)(A), Unzted States v. Harris, 543 F.2d 1247 (9~'
                                       Cir. 1976).

                                 4.    Copies of any inconsistent statements made by witnesses which
                                       the government intends to use at Mr. Kareem's sentencing.
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          5.     Criminal records, presentence reports or memoranda regarding
                 supervised release of any witnesses the government intends to
                 use at Mr. Kareem's sentencing.

          6.     The Bureau of Prison disciplinary files on any witnesses the
                 Government intends to use at Mr. Kareem's sentencing.

          7.     The Bureau ofPrison inmate profiles.

          8.     Communications with counsel for witnesses regarding offers,
                 agreements, or promises pertaining to benefits for furnishing
                 information regarding Mr. Kareem.

           Pursuant to United States v. Harris, 543 F.2d 1247 (9~' Cir. 1976),
    please have all govermnent agents, whether federal, state or tribal, preserve
    any and all handwritten notes of witness interviews or investigations for
    possible use at Mr. Kareem's sentencing as Jencks Act material.

                                     Very truly yours,


                                     Daniel D. Maynard
    DDM/sm
    c:  Abdul Kareem
        Daniel Drake
